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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

   UNITED STATES, et al.,

                         Plaintiffs,

         vs.                                                 No: 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

                         Defendant.


      GOOGLE’S OPPOSITION TO PLAINTIFFS’ MOTION TO ENFORCE THE
     COURT’S MAY 30 ORDER AND TO COMPEL PRODUCTION OF GOOGLE’S
     REMEDY FEASIBILITY SUBMISSIONS TO THE EUROPEAN COMMISSION
        At its May 30 hearing, this Court heard competing arguments about whether documents

 created in connection with remedies projects that are undisputedly protected work product are fact

 rather than opinion work product and, if so, whether Plaintiffs had demonstrated substantial need

 to pierce the protections ordinarily afforded such documents. The Court found Plaintiffs showed

 a substantial need for information about “the sophistication” of the ad tech tools at issue “and the

 interplay that they have with Google’s internal proprietary software and hardware infrastructure.”

 5/30/25 Hr’g Tr. at 40:3-41:2. Plaintiffs insisted that their experts “would not be able to be in the

 same position that Google’s technical people who have worked with that system for years, who

 fully understand the interplay between the systems and an understanding [of] how it is,” would be.

 Id. Accordingly, the Court partially granted Plaintiffs’ motion to compel, ordering Google to

 produce “internal reports and analyses prepared by non-lawyers at Google describing the nature

 and scope of work that would be required to modify Google’s ad exchange (AdX) and Google’s

 publisher ad server (DFP) to facilitate divestiture as requested by plaintiffs.” Dkt. 1450.
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        Since the May 30 hearing, Google has sought to diligently comply with the Court’s order.

 In addition to searching through the millions of documents provided in prior productions with

 expansive search terms, Google conducted an extensive search for additional responsive materials

 from 2023 to the present, including for all the Google employees identified as potential witnesses

 in this case. Google then reviewed tens of thousands of potentially responsive documents and, on

 a rolling basis, will produce or describe on a privilege log any responsive documents after applying

 tailored redactions to maintain attorney-client privilege and work product protections outside the

 scope of what it understood the Court compelled. For each deposition of a Google employee,

 Google produced in advance responsive analyses of the technical work required to facilitate

 divestiture such that Plaintiffs could review and examine witnesses about those documents.

 Indeed, on the very day they filed their motion, Plaintiffs did just that during an hours-long

 deposition of a Google employee. Plaintiffs examined the employee extensively about documents

 created in connection with remedies projects. And Google made no objection when Plaintiffs

 repeatedly pressed the employee about the precise issue that Plaintiffs claimed at the May 30

 hearing animated their request for Google’s work product: any discrepancies between current

 testimony about the unworkability of proposed remedies and prior analyses done of those same

 remedies. Compare 5/30/25 Hr’g Tr. at 10:23-11:2 (Plaintiffs complaining that they sought to ask

 “well, have you always thought that” divestiture would be unworkable; “have you ever conducted

 a previous analysis where you came to a different conclusion,”), with Ex. 1 (deposition transcript)

 at 131:21-132:7




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        Despite the fact that in the two weeks since May 30 Google’s productions have enabled

 Plaintiffs to do exactly what they told the Court they wanted to at the May 30 hearing, Plaintiffs

 bring a motion “to enforce the Court’s May 30 order,” casting aspersions that Google is trying to

 “frustrate” the Court’s order and “slow-rolling” productions. Dkt. 1475 (“Mot.”) at 1. But

 Plaintiffs’ bluster obscures that the parties’ dispute is simple: Plaintiffs disagree with Google about

 the proper interpretation of the Court’s May 30 order. Plaintiffs assert that, on May 30, the Court

 also compelled production of (1) any non-legal analyses related to any remedies projects regardless

 of whether they pertain to Plaintiffs’ proposed divestiture at all or whether they are based on

 information for which Google fact witnesses have unique knowledge, such as the interplay of

 Google’s systems with its infrastructure that animated the Court’s ruling; and (2) discussions of

 the scope of potential remedies, including possible technical changes to the products at issue, that

 explicitly contain, convey, or seek attorney impressions, opinion, or strategy and that have no

 relevance to Plaintiffs’ arguments in this action, such as questions about whether a particular

 approach may be more or less likely to resolve a regulator’s concerns.

        Given the parties’ disagreement, last week Google offered to Plaintiffs to promptly provide

 a privilege log that would enable the parties to sharpen the contours of their dispute, suggested the

 parties negotiate an agreed-upon production schedule for additional documents, and asked that the

 parties file a joint motion for clarification of the Court’s May 30 order. Google also made clear

 that, should the Court determine with the benefit of a full privilege log that in camera review would

 be helpful, Google would be amenable to that approach. Unwilling to accept that the parties had

 a fair-minded disagreement or that there could be more collaborative, less burdensome ways to

 seek guidance on the Court’s May 30 order, Plaintiffs proceeded with the instant motion.




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        Plaintiffs have taken the same approach to Google’s submissions to the European

 Commission—again casting aspersions that Google is trying to “hide,” Mot. at 2, even though, as

 Google also repeatedly explained to Plaintiffs, Google seeks only to ensure it acts in compliance

 with another sovereign’s law. The European Commission has repeatedly represented in filings

 before U.S. courts that European law prevents the disclosure of materials related to an EC

 proceeding. To overcome that prohibition, Plaintiffs rely on a two-page letter from the EC case

 team that appears to be completely at odds with the relevant EU law and the EC’s longstanding

 position thereon. Since it was unclear from this letter, which Google received from Plaintiffs with

 no context, whether the EC case team actually intended to reverse the EC’s prior positions and

 permit Google to share “grey-listed” evidence, Google requested further clarification from the EC,

 which the EC case team declined to provide. Therefore, in light of the lack of clarity from the EC,

 Google has now sought review of the EC case team’s letter to the European Commission’s Hearing

 Officer, who is an independent arbiter specifically established by the EC to rule on disputes

 concerning procedural issues under EU competition law. Google must ensure that its actions do

 not run afoul of foreign law and, contrary to Plaintiffs’ assertions, Google’s response has been a

 good-faith attempt to do so. Moreover, while Plaintiffs claim they are not interested in “settlement

 proposals or negotiations about such proposals,” Mot. at 14, the EC-related materials they seek

 include exactly that. As multiple courts in the Fourth Circuit have recognized, such “pre-

 settlement negotiations” are entitled to “enhanced protections.” Wyeth v. Lupin Ltd., 2008 WL

 11509482, at *3 (D. Md. Mar. 28, 2008).

        At bottom, despite Plaintiffs’ insinuations, Google has endeavored to fully comply with

 the Court’s prior rulings within the bounds of the privileges and protections Google is entitled to.




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 Google welcomes the Court’s guidance on all the issues raised in Plaintiffs’ motion, and is

 prepared to comply with the Court’s directives.

                                         BACKGROUND

   I.   The Court Held that Documents Google Created in Connection with Remedies
        Projects Are Within the “Broad Umbrella” of Protected Fact Work Product.
        In June 2023, the Court held that documents—including ones created by non-lawyers—

 that were created because of “projects themselves . . . tied to particular issues having to do with

 trying to resolve, address some concerns with ongoing investigations or remedies” are attorney

 work product. 6/15/23 Hr’g Tr. at 46:8-48:18. In reaching that conclusion, the Court did not

 decide whether the work product was fact or opinion work product.

        Two years later, on May 30, 2025, the Court considered whether a particular category of

 work product prepared in connection with the remedies projects was fact or opinion work product

 and concluded: “Reports and analyses prepared by nonlegal Google employees relating to the

 scope of work required to divest either AdX or DFP is really fact work product.” 5/30/25 Hr’g Tr.

 at 38:15-39:14. The Court confirmed that it continued to believe its “earlier ruling that these kinds

 of materials,” i.e. remedies project documents, “fall within the broad umbrella of work product

 was appropriate.” Id.

        Accordingly, the Court granted Plaintiffs’ motion to compel in part and ordered Google to

 produce a particular category of fact work product documents: “any internal reports and analyses

 prepared by nonlawyers” that describe “the nature and scope of the work that would be required

 to modify Google’s ad exchange, AdX, or Google’s publisher ad server, DFP, to facilitate the

 divestiture as requested by the plaintiffs.” Id. at 40:16-41:2. In light of the short fact discovery

 period, Google requested that the Court offer Google “some indulgence in order for us to get this

 rolling production underway.” Id. at 43:9-44:2. The Court acknowledged that Plaintiffs’ concern



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 was about having documents prior to taking depositions of Google’s employees, and encouraged

 the parties to “at least take a stab at trying to get those [timing-related] things worked out” given

 that they previously “have gotten together and been able to work a lot of things out.” Id. at 44:3-

 45:6.

  II.    Google Performed a Prompt and Exhaustive Document Collection, Search, and
         Review and Produced Responsive Documents in Advance of Depositions.
         Following the Court’s May 30 order, Google immediately started the process for making

 rolling productions responsive to the Court’s order. To identify responsive documents, Google

 applied expansive search terms designed to capture any memoranda, notes, agendas, reports,

 presentations, spreadsheets, and working documents that may have discussed relevant remedies-

 related projects and/or divestiture as proposed by Plaintiffs. Google then reviewed the numerous

 documents captured by the broad search terms in order to identify any “internal reports and

 analyses prepared by non-lawyers at Google describing the nature and scope of work that would

 be required to modify Google’s ad exchange (AdX) and Google’s publisher ad server (DFP) to

 facilitate divestiture as requested by Plaintiffs.” Dkt. 1450. Once Google identified responsive

 documents, it applied redactions in order to protect attorney-client privileged communications as

 well as work product not covered by the Court’s May 30 order.

         From that exhaustive review process, Google began rolling productions to Plaintiffs. In

 advance of the first Google employee deposition on Monday, June 9, Google produced responsive

 documents from the employee’s custodial files the morning of Thursday, June 5—just four

 business days after the Court’s order. In advance of the depositions of two additional Google

 employees on Friday, June 14, Google produced responsive documents from those employees’

 files the morning of Wednesday, June 12. As Google assured Plaintiffs before the filing of their




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 had a substantial need for—“the sophistication of” Google’s “systems and the interplay that they

 have with Google’s internal proprietary software and hardware infrastructure,” 5/30/25 Hr’g Tr.

 40:3-15. See Ex. 1 (excerpts from deposition transcript).

 III.   Google Has Explained Its Approach to Plaintiffs and Attempted To Work Out a Joint
        Solution with Plaintiffs that Would Address Their Concerns, But Plaintiffs Declined.
        After receiving the first production of documents responsive to the Court’s May 30 order

 on Thursday, June 5, Plaintiffs did not raise any concerns about Google’s production efforts until

 Monday, June 9, the day of the first Google employee deposition. Dkt. at 1475-1 at 13. Even

 then, Plaintiffs did not articulate any particular concerns for Google to address or make specific

 demands relating to the timing of Google’s productions.

        On a Tuesday, June 10 meet and confer, Google explained to Plaintiffs in detail the

 approach Google had taken to redactions in the produced documents in order to apply the Court’s

 May 30 order—an approach that is repeated in detail for the Court below, infra Section I

 (Argument), and had previously been laid out in Google’s production cover letter to Plaintiffs on

 June 5. In the June 10 meet and confer, Plaintiffs advanced a far broader reading of the Court’s

 May 30 order. According to Plaintiffs, the Court found Plaintiffs demonstrated substantial need

 for any reports or analyses by nonlawyers related to divestiture, including marketplace analyses of

 potential buyers—regardless of whether those analyses were based on facts uniquely in the

 possession of Google’s fact witnesses. Though Google disagreed, Google offered to revisit any

 parts of the May 30 order and hearing transcript Plaintiffs believed supported their position.

        Following the Tuesday, June 10 meet and confer, Google explained again its position on

 the Court’s May 30 order and requested that the parties meet and confer again given their

 disagreement about the scope of the order. Id. at 7-9. During the Thursday, June 12 meet and

 confer and in written correspondence following that meet and confer, the parties reached an



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  impasse regarding the breadth of the Court’s finding of substantial need. Id. Google told Plaintiffs

  that it believed a mutual agreement would be an efficient and productive way to proceed, and

  offered to (1) promptly provide a privilege log that would sharpen the contours of the dispute,

  including accounting for any responsive documents that were fully withheld; (2) file a jointly

  submitted motion for clarification of the Court’s order after Plaintiffs had the opportunity to review

  Google’s privilege log; (3) agree to a timeline for Google to produce additional responsive

  documents; and (4) agree to an appropriate procedure for in camera review should the Court find

  that it would be helpful. Id. at 1; Ex. 2 at 3. The afternoon of Friday, June 13, hours before filing

  the present motion, Plaintiffs wrote back to decline Google’s proposal and, at the same time,

  proposed a specific production schedule for the first time. Ex. 2 at 2. Plaintiffs then filed a motion

  demanding the Court “enforce” its May 30 order and unilaterally requesting in camera review.

                                             ARGUMENT

      I.   Google Has Taken a Good-Faith Approach to Producing and Redacting Documents
           Responsive to the Court’s May 30 Order.
           As Google explained in detail to Plaintiffs in its production cover letters of June 5, June

  12, and June 18, as well as in the June 10 and June 12 meet and confers, Google has produced and

  redacted documents in accordance with what Google understands is the scope of the Court’s May

  30 order. Google has transparently and repeatedly explained its interpretation to Plaintiffs, which

  is set forth below.

           First, the Court stated in June 2023 and again in May 2025 that documents created by both

  lawyers and nonlawyers in connection with remedies projects fall under the “broad umbrella” of

  fact work product. Supra Section I (Background).1


  1Plaintiffs suggest Google has waived its fact work product claim as to some remedies documents
  because, in October 2023, Google did not update all prior privilege logs (including ones first
  provided to Plaintiffs during the investigation stage years ago) to specifically reflect that Google

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         Second, the Court’s May 30 order compelled production of only certain fact work product

  for which the Court found that Plaintiffs had demonstrated substantial need. Specifically, the

  Court found substantial need for certain documents based on two factors:

         Google has also made in their papers a very aggressive argument that the unfeasible
         workability issues relate, in large part, to the sophistication of these systems and
         the interplay that they have with Google’s internal proprietary software and
         hardware infrastructure. I think that any outside expert that the plaintiffs may be
         able to hire, spend time, do their analysis would not be able to be in the same
         position that Google’s technical people who have worked with that system for
         years, who fully understand the interplay between the systems and understanding
         how it is, would be able to come up with an analysis of the same significance.

         So for those reasons, I am going to grant the motion in part and require Google to
         provide any internal reports and analyses prepared by nonlawyers.
  5/30/25 Hr’g Tr. at 40:3-18 (emphases added). Based on its substantial need finding, the Court’s

  order compelled production only of “internal reports and analyses” of “the nature and scope of

  work that would be required to modify Google’s ad exchange (AdX) and Google’s publisher ad

  server (DFP) to facilitate divestiture as requested by plaintiffs.” Dkt. 1450. As Google has argued

  in its briefs, the work required to modify AdX and/or DFP to facilitate divestiture is an unworkable



  had prevailed on fact work product doctrine for remedies documents. Mot. at 7 n.11. Rule 26
  imposes no such draconian formalisms. The purpose of a privilege log is to “allow[] the opposing
  party to assess the assertion of the privilege against the applicable tests and to challenge any claim
  thought to be wanting.” Rambus, Inc. v. Infineon Techs. AG, 220 F.R.D. 264, 272 (E.D. Va. 2004).
  Here, remedies documents have already been assessed to be fact work product, and Plaintiffs have
  been on notice since at least June 2023 that Google considers documents relating to remedies
  projects to be protected work product.

  Moreover, “[w]aiver is not automatic,” Smith v. James C. Hormel Sch. of Virginia Inst. of Autism,
  2010 WL 3702528, at *4 (W.D. Va. 2010) (collecting cases), and is an “exceedingly harsh
  sanction,” Rambus, 220 F.R.D. at 274. The proper course would be to direct the production of a
  revised privilege log, as the court did in the case cited by Plaintiffs, Williams v. Big Picture Loans,
  LLC, 2019 WL 8107922, at *4 (E.D. Va. 2019); see also H/S Wilson Outparcels, LLC v. Kroger
  Ltd. P’ship I, 2018 WL 1528187, at *3 (E.D.N.C. 2018) (taking a similar approach). In its
  privilege logs pertaining to this phase of proceedings pursuant to the Court’s May 30 order, Google
  will describe its privilege claims and documents “in a manner that . . . will enable other parties to
  assess the claim.” Fed. R. Civ. P. 26(b)(5)(A)(ii).

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  technical challenge because of the way that Google’s systems are designed. Dkt. 1431 at 12-15;

  Dkt. 1434 at 13-19. Accordingly, the Court has compelled Google to produce documents about

  that system design and the technical work required to change it.

           Third, the Court gave guidance that it was not compelling production of “legal opinions”

  and “analysis from lawyers and those kinds of things.” 5/30/25 Hr’g Tr. at 40:3-41:2.

           To comply with the Court’s statements at the May 30 hearing and its May 30 order, Google

  is producing any internal reports or analyses of the technical work required to modify AdX or DFP

  to facilitate divestiture as proposed by Plaintiffs. Indeed, though Plaintiffs do not mention them,

  Google produced multiple documents with virtually no redactions, even though they were prepared

  in connection with remedies projects, because they contain such technical analyses. See, e.g., Exs.

  3 (GOOG-AT-MDL-B-009828834), 4 (GOOG-AT-MDL-B-009828829), 5 (GOOG-AT-MDL-B-

  009832007) (relating to various remedies projects initiated because of investigations and

  litigation). The sole exception is narrow instances in which discussions of technical work or scope

  are protected by attorney-client privilege or opinion work product. For example, as an in camera

  review would show, the redactions Plaintiffs describe as “selectively withholding some timelines

  . . . while producing others,” Mot. at 10, actually draw a distinction between proposed timelines

  for technical work and timelines for potential litigation or investigation deadlines.

           Moreover, in order to faithfully comply with the Court’s May 30 order, Google has

  interpreted the meaning of “divestiture as requested by Plaintiffs” as expansively as possible.

  Google has produced any internal reports or analyses of technical work required to modify AdX

  or DFP

                                                                          . See, e.g., Ex. 6 (GOOG-

  AT-MDL-B-009832916) (relating to a remedies project initiated in response to investigations and




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  litigation



                                                            ).

          Consistent with the principles laid out above, and as will be reflected in Google’s privilege

  log, Google has withheld or redacted remedies projects documents in the following categories:

      ● Fact work product for which Plaintiffs have not shown substantial need, including:

               ○ Marketplace analyses. At the May 30 hearing, the Court specifically observed that

                  Plaintiffs would be required to make a different showing of substantial need to

                  justify compelling such analyses:

                  How does that come into play? We’re talking about business people who
                  would be doing that analysis not having anything to do with engineers,
                  right? . . .
                  Why is their analysis something that you can’t get through other resources,
                  that component? That is a marketplace analysis, not one that Google has
                  necessarily expertise in, like they would with their engineers and coming
                  up with, you know, how will we go about doing this divestiture and how
                  much would it cost. I’m trying to get the substantial need component to this
                  other aspect of, you know, who would buy it and would they be viable if
                  they did buy it.
                  5/30/25 Hr’g Tr. at 13:21-14:21 (emphasis added).

               ○ Analyses of how various scenarios might affect the financial performance of the

                  tools at issue, including analyses of Google’s Profit and Loss statements. Again, at

                  the May 30 hearing, the Court explicitly told Plaintiffs they had not shown a

                  “substantial need” for this type of information:

                  MR. HUPPERT: . . . . And the core relevance of these materials, Your
                  Honor, is to see how Google’s engineers and business people evaluated
                  this question of remedies and feasibility and, of course, what they
                  concluded as nonlawyers, as business people, and as engineers. For
                  example, the degree of technological complexity they concluded would be
                  involved or the financial viability of divested business units, you know,
                  what they concluded about that.


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                THE COURT: What relevance does that have? The technical aspect I
                understand fully. They say it would take five years, or it could take even
                longer and very complicated, and it would cost Google a lot of money to
                do it. That part I can understand, but the technical feasibility having to do
                with—if the Court orders divestiture, it’s going to order divestiture.

                And whether Google loses a lot of money or somebody gets a lot of money
                or those kinds of things are going to be part of that. I’m not sure discovery
                on that issue is necessarily something that you have a substantial need
                for and can’t get through other sources.

                5/30/25 Hr’g Tr. at 11:10-12:6 (emphases added).

            ○ Analyses of potential remedies that were not divestiture and did not entail any

                technical work that would be relevant to a divestiture as requested by Plaintiffs.

            ○ Forecasts and plans for Google’s future business strategy if certain remedies were

                to be implemented.

            ○ Details of how Google may have implemented certain potential remedy scenarios

                that do not relate to technical work,




            ○ Google’s public relations strategy concerning potential resolutions of ongoing

                investigations and litigation.

     ● Documents or portions of documents that are not only fact work product, but also protected

        by attorney-client privilege or opinion work product, including:

            ○ Information directly communicating, containing, conveying, or seeking the advice

                of lawyers regarding whether certain changes, if implemented, may be more or less

                likely to resolve ongoing investigations and litigation, or regarding the potential

                exposure to legal risks that might result from a particular product change under




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                consideration. That would include, as Google explained to Plaintiffs in a meet and

                confer and in written correspondence, Ex. 2 at 1, any discussions about what

                “technical scope” for a product change might be responsive to regulators’

                concerns.2

             ○ Descriptions of the specific allegations in investigations or litigation that motivated

                particular analyses.

             ○ Presentations or documents that were authored by attorneys for purposes of giving

                legal strategy and advice, even if they incorporated the opinions and work of

                nonlawyers or were reviewed in part by nonlawyers for accuracy. This includes,

                for example, attorneys’ drafts of responses to various correspondences with

                regulators, draft litigation filings that were reviewed or commented on by

                nonlawyers, and draft talking points for meetings with regulators.

      ● Any information directly stating that any



                                                                . For example, Google would have

         redacted any parts of a hypothetical presentation explaining




                                    Such information may be not just fact work product, but also an

         attorney-client privileged communication or an attorney’s opinion work product.




  2 Even if such discussions were not attorney-client privileged and/or opinion work product, they
  are also fact work product for which Plaintiffs have not shown substantial need. To make their
  arguments in this action, Plaintiffs have not shown, and cannot show, any need to know what
  remedies Google employees thought might address regulators’ concerns.

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   II.   Plaintiffs Disagree About the Proper Interpretation of the Court’s May 30 Finding of
         Substantial Need.
         Unsatisfied with Google’s approach, Plaintiffs advance the extreme position that Google

  should be required to “remove redactions from any material prepared by non-lawyers at Google.”

  Mot. at 1, 15 (emphasis added). Despite the Court’s statements at the May 30 hearing, Plaintiffs

  seemingly believe that they have shown a substantial need for any non-lawyer’s analysis that has

  anything to do with divestiture, or simply is in the same document as an analysis of divestiture—

  even if the analysis is not based on facts uniquely in the knowledge of Google’s fact witnesses or

  about divestiture. For example, on both the June 10 and 12 meet and confers, Plaintiffs demanded

  analyses of the financial viability of AdX and DFP, despite having propounded discovery requests

  for the precise facts that would inform such analyses, including updated profit-and-loss statements

  for Google Ad Manager. (And Google is producing responsive materials.) Plaintiffs also

  explicitly demanded that Google produce marketplace analyses of potential buyers. Of course,

  information about the marketplace is not unique to Google. Nor does Google plan to, as it would

  with engineering witnesses testifying about the technical workability of divestiture, put forward

  fact witness testimony about marketplace analyses.         Thus, even applying Plaintiffs’ own

  substantial need arguments from the May 30 hearing, it is unclear how Plaintiffs have also shown

  substantial need for marketplace or financial viability analyses. Cf. 5/30/25 Hr’g Tr. at 35:5-19

  (Plaintiffs complaining on May 30 that “DOJ is not going to be” able to put up “any fact witnesses

  from the DOJ who will say, you know, I, Matt Huppert from the DOJ think that” AdX divestiture

  “would take six months”).

         Google agrees that the parties have reached very different understandings of the Court’s

  May 30 finding of substantial need. But Plaintiffs also go one step further, accusing Google of

  making “blunderbuss assertions of privilege” or “sweeping and conclusory claims of privilege.”



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  Mot. at 8. Those accusations are inaccurate and unsupported by the law. For one, Plaintiffs fixate

  on the fact that Google has previously withheld and, in some instances, continues to withhold

  documents drafted by non-lawyers or containing technical or financial analysis. But the Court has

  already held that documents created by non-lawyers about such topics in connection with remedies

  projects can be fact work product. Indeed, fact work product, by definition, may contain a variety

  of information, depending on the issues raised in a legal proceeding, and may be created by non-

  lawyers. Dunston v. Cecil Huang, 2010 WL 11698098, at *1 (E.D. Va. May 5, 2010) (Anderson,

  M.J.) (holding that a surveillance video “created by a representative of the defendants” and

  obtained by counsel in anticipation of litigation was “protected by the work product protection”

  before assessing substantial need); Williams v. AT&T Mobility, 2022 WL 2821922, at *5

  (E.D.N.C. July 19, 2022) (rejecting as “incorrect” argument that documents created by non-

  lawyers “cannot be privileged”).3

           Second, even though the remedies project documents fall under the “broad umbrella” of

  fact work product, Plaintiffs insinuate that Google has overly redacted documents by relying on

  attorney-client privilege and opinion work product. See Mot. at 7-8. Google is not asserting that

  every redacted page of every document is protected by either attorney-client privilege or opinion

  work product. Nor has Google ever taken that position. As explained above and laid out in

  Google’s privilege log, among the documents at issue, many redactions have been applied or

  documents withheld because those portions contain fact work product for which the Court has

  made no finding of substantial need. Google has made other, tailored redactions on attorney-client


  3Contrary to Plaintiffs’ accusations, see Mot. at 8, in the prior stage of this litigation it was entirely
  appropriate for Google to withhold an engineering analysis prepared by a non-lawyer because that
  document was created at the direction of counsel to assist with resolving ongoing investigations
  and litigation. As Plaintiffs acknowledge, following the Court’s May 30 order Google has
  produced the analysis of engineering work required.


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  privilege or opinion work product grounds to the extent that parts of the responsive documents are

  attorney-client communications or convey the opinions or strategy of attorneys. That parts of these

  documents contain attorney-client communications or opinion work product is unsurprising given

  the fact that, ultimately, these analyses were created at the direction of counsel to evaluate legal

  strategies and the potential for resolution of multiple ongoing regulatory investigations.

         Finally, Plaintiffs also imply—based on sheer speculation—that Google must not have

  complied with the Court’s order because Google has produced so few documents.4 For one, in the

  absence of a full privilege log documenting any withheld documents, when they filed their motion

  Plaintiffs did not yet have sufficient information to evaluate the universe of documents Google has

  reviewed. Regardless, for the avoidance of any doubt, Google reiterates that it has performed an

  exhaustive collection and search for responsive documents, reviewed thousands of those

  documents to identify responsive ones, and will account on its privilege logs and through its

  productions for all responsive documents.

         Plaintiffs ignore that the number of documents Google is producing corresponds to the

  relatively contained scope of the Court’s order for “internal reports and analyses” of the technical

  work required to facilitate divestiture, which were created in connection with remedies projects

  directed by counsel. That a limited number of responsive remedies project documents—much less

  relevant analyses of divestiture in particular—exists at all is consistent with Google’s practice, as


  4 Plaintiffs also complain about an inconsistency in redactions in the documents produced to
  Plaintiffs. Mot. at 12. As Google has explained to Plaintiffs, see Ex. 7, the inconsistency was an
  inadvertent mistake made while a team of reviewing attorneys was attempting to rapidly review
  and produce documents in advance of the deposition of the relevant Google witness, which
  occurred shortly after the Court’s May 30 order. That mistake has since been corrected.

  Prior to filing their motion, Plaintiffs never raised this inconsistency to Google, despite having
  received the relevant documents over a week prior. Had Plaintiffs identified this particular concern
  to Google, Google would have promptly resolved it, as Google did following the filing of
  Plaintiffs’ brief.

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  testified to by multiple Google employees, for the remedy projects at issue. As the Court observed

  in 2023, prior remedies projects “were modest in nature and seemed to be one-offs.” 6/15/23 Hr’g

  Tr. at 47:17-48:2. For example, taken together, all Google employees spent only 45 hours on

  Project Single Click, 50 hours on Project Stonehenge, 30 hours on Project Sunday, and 10 hours

  on Project Monday. Ex. 8 (Google’s 30(b)(6) witness deposition transcript) at 93:22-24, 131:6-

  12, 152:17-25, 189:22-24; see also Ex. 1 at 387:2-389:16 (

                                                                                    As to more recent

  projects, one employee testified that, based on his role in the organization, he was consulted for a

  particular purpose and did not recall creating documents but “verbally reported back.” Ex. 9 at

  81:16-82:14. Another employee testified that, for a different project, Google did not put together



                                                            Ex. 1 at 83:5-22, 92:16-93:3. In light of

  this limited scope, the documents Google has produced, combined with the ones accounted for on

  the privilege log as withheld documents, account for the full universe of responsive remedies

  project documents.

  III.   If Google Has Misinterpreted the Court’s May 30 Order, Google Will Faithfully
         Apply the Court’s Direction, Including Any Order for In Camera Review.
         As Google told Plaintiffs in a June 12 meet and confer, Google believes it has applied

  redactions and withheld documents according to the proper interpretation of the Court’s May 30

  order. Google is not seeking in any way to “frustrate” the Court’s May 30 order, Mot. at 1, but

  rather to apply that order carefully and draw the necessary lines between highly sensitive, protected

  material that would not have been produced but for investigations and litigation and material that

  Google is obligated to produce. Given the parties’ present disagreement about the May 30 order,




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  Google now seeks the Court’s guidance on that order. If Google has misinterpreted the Court’s

  prior order, it will comply with the Court’s direction.

         As to Plaintiffs’ request for in camera review, Google already informed Plaintiffs that it

  would be amenable to reaching “agreement on a procedure for in camera review for the Court to

  consider if the Court determines that in camera review would be helpful in resolving the parties’

  dispute.” Ex. 2 at 1. Google respectfully submits that, in light of the Court’s prior finding of fact

  work product protection over remedies projects, Google’s explanation of how it has applied the

  Court’s findings, and Google’s intent to re-review and reproduce documents if necessary to

  comply with any further order from the Court, in camera review is unnecessary and premature.

  But, should the Court determine that in camera review would be helpful to the Court, Google

  respectfully submits that the best procedure would be for both parties to make selections of a subset

  of documents for the Court’s review after responsive documents and a complete privilege log are

  produced to Plaintiffs.

         Finally, as to Plaintiffs’ request for an expedited schedule, earlier on June 18, Google

  already produced to Plaintiffs documents in connection with depositions of the remaining Google

  employees that had been noticed prior to the filing of Plaintiffs’ motion.5 Google also intends to

  provide Plaintiffs with a revised privilege log for the documents that Google produced to Plaintiffs

  on June 5, June 11, and June 18 no later than June 20. In addition, Google will have produced to

  Plaintiffs all documents responsive to the Court’s May 30 order by Wednesday, June 25, with a

  privilege log to follow by June 27. No further expedited schedule is necessary.




  5On Monday, June 16, Plaintiffs noticed for the first time the deposition of an additional Google
  employee. To the extent relevant documents are not among the production already, Google will
  produce any documents in connection with that employee’s deposition by June 25.

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  IV.    Google Has Declined to Produce Its Submission to the EC Because Doing So Would
         Violate EU Law and Disclose Highly Sensitive Settlement Negotiations.
         Google has not produced its submissions to the European Commission (“EC” or

  “Commission”) because of a serious concern, grounded in the EC’s own prior practice, that doing

  so would both violate the law of the European Union (“EU”) and would disclose the contents of

  highly sensitive settlement negotiations conducted as part of an ongoing investigation. Plaintiffs’

  claim that Google has resorted to “stalling tactic[s],” Mot. at 14, is a gross distortion that serves

  little purpose other than a gratuitous ad hominem attack. While Google certainly appreciates the

  constraints of the expedited fact discovery period, it cannot simply violate another sovereign’s

  laws or disclose settlement negotiations in a separate, ongoing investigation because Plaintiffs

  want it to. For the reasons set out below, the Court should deny Plaintiffs’ request.

             A. The EC Has Consistently Taken the Position in U.S. Courts That EC-Related
                Materials Are Not Discoverable.
         Plaintiffs’ brief accuses Google of advancing an incorrect argument that submissions to the

  EC in an ongoing investigation are not discoverable but fails to mention the EC’s longstanding

  practice. Over the past twenty-five years, the EC has intervened or filed amicus briefs in multiple

  antitrust proceedings pending before United States courts “to present the Commission’s position”

  that “the Commission’s investigative materials” are barred from disclosure under EU law. Ex. 10,

  Amicus Curiae Brief of the European Commission, In re Farm-Raised Salmon & Salmon Prods

  Antitrust Litig., Case No. 1:19-cv-21551-CMA (S.D. Fla.), Dkt. 346 at 1-2 (collecting cases). For

  example, in the Farm-Raised Salmon proceeding the EC filed an amicus brief against disclosure

  of certain documents, including “all documents produced . . . in connection with [the EC’s]

  Statement of Objections” and “all draft and final responses provided to the European

  Commission’s questionnaire(s).” Ex. 10 at 8-9 n.2. The EC explained that “EU competition law

  requires that certain documents related to the Commission’s investigations not be disclosed under


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  certain circumstances,” and that the EC’s “competition enforcement depends on legal guarantees

  that certain types of information exchanged during the investigation (‘black-listed’ and ‘grey-

  listed’ evidence) will be accorded absolute and legally binding protection from disclosure

  orders.” Id. at 9 (emphasis added). By contrast, “white-listed” evidence, i.e. “pre-existing

  documents that exist independently” from the EC’s proceedings, can be disclosed at “any time,

  even while the investigation is ongoing.” Id. at 7.

         Deferring to the EC, U.S. courts have, in turn, denied parties’ motions to compel the

  production of materials related to the EC’s investigations. See, e.g., In re Rubber Chems. Antitrust

  Litig., 486 F. Supp. 2d 1078, 1084 (N.D. Cal. 2007) (denying motion to compel documents

  provided as part of EU’s leniency program based on the “strong objection” in the Commission’s

  letter); Ex. 11, Order, In re Farm-Raised Salmon & Salmon Prods Antitrust Litig., Case No. 19-

  cv-21551-CMA (S.D. Fla. 2021), Dkt. 385 at 4-5 (denying motion to compel defendants’

  responses to EC’s RFIs, after EC intervened as an amicus, finding that “Defendants and the EC

  have an interest in protecting these confidential documents”); cf. In re Interest Rate Swaps

  Antitrust Litig., 2018 WL 5919515, at *3 (S.D.N.Y. 2018) (denying motion to compel Statement

  of Objections because EC letter filed in parallel litigation, which put plaintiffs’ counsel on notice

  that “European law did not permit or entitle plaintiffs to disclosure of the SO or other materials

  related to the EC’s closed CDS investigation”).

         Plaintiffs’ Request for Production No. 2 requests “all communications, briefs, white papers,

  presentations, expert declarations, expert reports, and any other advocacy or analysis submitted or

  referenced by Google” to the EC concerning any “actual or potential remedy for alleged

  anticompetitive conduct”—directly seeking materials prohibited from disclosure under

  Commission Regulation (EC) No 773/2004 and EU Directive 2014/104/EU on Antitrust Damages




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  Actions (“Damages Directive”) (cited in Google’s objections to Plaintiffs’ request) and the EC’s

  consistent past positions. The materials sought by Plaintiffs were prepared specifically for the EC

  proceedings and therefore qualify as “grey-listed” evidence, i.e. any “information that was

  prepared by a natural or legal person specifically for the proceedings of a competition authority.”

  Ex. 10 at 6-7 (“Because ‘grey-listed’ documents were created specifically for the investigation,

  they must not be disclosed while the investigation is ongoing.”).          EU law “ensure[s] the

  unequivocal protection of ‘grey-listed’ documents against discovery until the Commission’s

  proceedings are closed.” Id. at 7 (noting protection found in the Damages Directive as well as

  Article 16a(3) of Regulation 773/2004).

         In light of the foregoing, the letter from the EC case team, which Plaintiffs provided to

  counsel for Google on May 29, reflects a position that is inconsistent with both the letter of the

  relevant EU laws and appears to be inconsistent with of the Commission’s long-standing position

  on the discoverability of materials part-and-parcel of an EC investigation.6 The two-page letter

  vaguely concludes that several provisions of EU law, including the Damages Directive and Article

  16a(3) of Commissions Regulation No. 773/2004, “do not prohibit a defendant from producing

  documents responsive to” RFP 2. Dkt. 1477-5 at 2. The letter is completely silent on what specific

  documents Google is permitted to produce, including whether Google can produce “grey-listed

  evidence” without violating EU law. The case team’s letter also fails to reference any case law or


  6 In the Salmon proceeding, the EC provided a letter to defense counsel, stating that it had “serious
  concerns” that plaintiffs’ RFPs sought settlement submissions and materials prepared specifically
  for the EC proceeding. See Ex. 12, Letter from C. Villarejo, Deputy Director General DG
  Competition, In re Farm-Raised Salmon & Salmon Prods Antitrust Litig., Case No. 19-cv-21551-
  CMA (S.D. Fla.), Dkt. 221-1 at 5 (“The Commission’s services at DG Competition have serious
  concerns regarding the disclosure of the Requested Documents in proceedings before the Court,
  in so far as, and subject to the meaning of ‘documents produced to the European Commission, the
  Production Request: . . . relates to other documents that your Client would have specifically
  created” for the EC proceedings before “these proceedings are closed.”).


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  interpretation of the relevant provisions of EU law that would legally allow Google to produce the

  requested documents. Because counsel for Google was not copied on Plaintiffs’ communications

  with the EC case team, Google had no understanding of what, if any, context Plaintiffs provided

  to the case team. As it appears that the case team’s position was completely at odds with the EC’s

  prior positions—positions the EC had taken in multiple filings before U.S. courts—Google took

  the reasonable step of contacting the EC to obtain clarification and request reconsideration.

  Counsel for Google spoke with the case team on June 5 and sent a follow-up letter on June 6.

  However, since June 6 was the start of a holiday weekend as June 9 is a public holiday in Brussels,

  Google extended its requested response deadline to its letter to June 16. Plaintiffs chose not to

  wait, filing this motion to compel instead.7

         On June 16, counsel for Google spoke with the case team again regarding Google’s June 6

  letter. The case team advised that it would not respond to Google’s letter. As such, Google still

  lacks necessary guidance as to whether, for example, the case team’s May 29 letter is simply

  affirming prior guidance that Google can produce “white-listed” materials or if it is now the EC’s

  view that Google can produce “grey-listed” materials as part of U.S. civil discovery. As explained,

  Google’s production of “grey-listed” materials would be entirely inconsistent with the Damages

  Directive and the prior positions taken by the Commission in other U.S. courts.            Absent

  clarification, it remains unsettled whether Google can produce “grey-listed” evidence without

  violating EU law. Google has sought this clarification from the Hearing Officer, an independent

  arbiter specifically established by the EC to rule on disputes between parties and the European



  7 After Plaintiffs indicated that they intended to move to compel, Google provided updates to the
  EC, but the EC did not give any indication that it was prepared to respond earlier than the June 16
  deadline. As a result, Google was unable to provide an updated position to Plaintiffs before they
  filed their motion.


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  Commission’s Directorate-General for Competition8 concerning the effective exercise of

  procedural rights in antitrust and merger proceedings,9 with which the issue remains pending. The

  EC’s Hearing Officer may overrule the position expressed in the letter.

               B. Plaintiffs Should Not Be Permitted to Force Google to Turn Over Materials
                  from Highly Sensitive Settlement Negotiations That Are Part of an Ongoing
                  Proceeding.
         Setting aside that EU law prohibits the disclosure of these materials, the Court should

  separately decline Plaintiffs’ request for settlement materials for an additional reason. In their

  motion, Plaintiffs claim that they do not “seek any settlement proposals or negotiations,” but then

  claim in the same paragraph that they are entitled to documents that were provided to the EC “in

  connection with” settlement discussions. Mot. at 14. It is difficult to reconcile those contradictory

  positions.




         As Google has repeatedly raised to Plaintiffs, “pre-settlement negotiations” are entitled to

  “enhanced protections.”10 Wyeth v. Lupin, 2008 WL 11509482, at *3 (D. Md. 2008). Courts in



  8 The department of the EC responsible for enforcing EU competition rules.
  9 See https://competition-policy.ec.europa.eu/hearing-officers_en.
  10 The Court’s May 30 Order did not address either the discoverability of pre-settlement materials

  exchanged between parties or the settlement proposals themselves. As Plaintiffs acknowledged in
  their Reply in Support of their Motion to Compel Internal Analyses, “The cases Google cites all
  dealt with discovery of settlement agreements, settlement communications, or similar material
  exchanged between parties engaged in compromise discussions.” Dkt. 1447 at 13.

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  the Fourth Circuit recognize that they “must balance the public interest in protecting the

  confidentiality of the settlement process and countervailing interests,” and have found that “public

  policy warrants judicial caution in exposing communications made during the negotiations leading

  up to a final settlement.” CHS Inc. v. ABM Healthcare Support Servs., Inc., 2021 WL 149861, at

  *2 (W.D. Va. 2021) (quoting Food Lion LLC v. Dairy Farmers of Am. Inc., 2020 WL 6947921,

  *3 (W.D.N.C. 2020)). In pushing for these materials, Plaintiffs rely on factually inapposite cases

  involving the discovery of an executed settlement agreement or where discovery would not reveal

  existence of settlement negotiations. Dkt. 1447 at 14; see also CHS Inc., 2021 WL 149861, at *2

  (“courts distinguish between discovery of a settlement agreement once it is reached versus

  discovery into the settlement negotiations and process.”).

         Plaintiffs' insistence on piercing confidential settlement negotiations will certainly chill

  any future settlement negotiations between Google and competition regulators; it will likely chill

  settlement negotiations for other companies as well. Ex. 10 at 13-14 (“The Commission’s

  investigation procedures are designed to encourage private parties to provide sensitive material in

  complete reliance on the Commission’s legally binding assurance of nondisclosure.”). Any

  company, including Google, would be extremely wary of ever entering into settlement negotiations

  with the EC or any other competition regulator if it knew it might be obligated to turn over those

  settlement negotiations in discovery to a third-party. The consequences of turning over these

  materials is particularly acute in this case, as plaintiffs, including private plaintiffs, in pending

  parallel actions will likely insist on receiving these materials as well. Therefore, Google’s

  confidential settlement negotiations may be distributed across multiple jurisdictions and plaintiff

  groups, completely compromising the confidentiality and integrity of the EC settlement process.




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   Dated: June 18, 2025                        Respectfully submitted,


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